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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:13CR106
                                                )
       vs.                                      )                    ORDER
                                                )
WARREN TIDWELL,                                 )
                                                )
                      Defendant.                )


       This matter is before the court on the motion for defense litigation costs (Filing No.
322). Tidwell seeks the subpoena of defense witnesses at government’s expense. Fed. R.
Crim. P. 17(b) provides:
              (b)    Defendant Unable to Pay. Upon a defendant’s ex parte
              application, the court must order that a subpoena be issued for
              a named witness if the defendant shows an inability to pay the
              witness’s fees and the necessity of the witness’s presence for
              an adequate defense. If the court orders a subpoena to be
              issued, the process costs and witness fees will be paid in the
              same manner as those paid for witnesses the government
              subpoenas. (Emphasis supplied).
Fed. R. Crim. P. 17(d) provides:
              (d)    Service. A marshal, a deputy marshal, or any nonparty
              who is at least 18 years old may serve a subpoena. The server
              must deliver a copy of the subpoena to the witness and must
              tender to the witness one day’s witness-attendance fee and the
              legal mileage allowance. The server need not tender the
              attendance fee or mileage allowance when the United States,
              a federal officer, or a federal agency has requested the
              subpoena. (Emphasis supplied).
       Tidwell has filed a Financial Affidavit demonstrating his inability to pay (Filing No. 286-
Sealed). Accordingly, Tidwell’s counsel may file an ex parte application for the issuance of
trial subpoenas for witnesses which will include their name, address and a summary of their
expected testimony which establishes the necessity of their testimony for an adequate
defense. The application shall be accompanied by a completed subpoena form for each
witness which are available from the Clerk on the court’s website. The application will be
reviewed by the trial judge to determine the necessity of the witness for trial for an adequate
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defense and the trial judge will direct the Clerk to issue such subpoenas as the trial judge
determines are necessary.
       Payments to witnesses who testify in this case pursuant to the court’s order will be
made by the U.S. Marshal following the witness’s testimony pursuant to Form OBD-3. A
copy of such form is attached to this Order. Counsel for Tidwell shall contact the U.S.
Marshal for directions as to completing such form and directing the witness to the U.S.
Marshal’s office for payment.


       IT IS SO ORDERED.


       DATED this 6th day of February, 2015.


                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge




                                             2
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U.S. Department of Justice                                                                   Fact Witness Voucher
Washington, D.C. 20530

 THIS IS A 4-PART FORM. FILL OUT FORM AND PRINT 4 COPIES. SIGN AS NEEDED AND ROUTE AS SPECIFIED
 BELOW.


                                                                                                               Page 1 of 3

Check One I        (was)      (was not) a United States citizen at the time of attendance
          I        (was)      (was not) a Federal Government employee at the time of attendance
          I        (Did)       (did not) receive a cash or check advance. Total advance issued: $                From:


 Witness Name:                                                              Court Doc. No:

 Social Security Number:                                                    Case Name:

 Address:                                                                   District:

 City:                                 State:           Zip:                Court Location:

 Telephone No. (including area code):                                       GTA               Transportation        Lodging




                 PART I - Attendance Certification (by Government Official)                             Object         Amounts
            (Retention of these fees is considered taxable income and reportable to IRS)                Class           (Dollars)
                                                                                                                     (To Be com-
                                                                                                                     pleted by US
                                                                                                                     Marshals)

 A.   Attendance Fees

         Deposition Dates                                                     $40 @          days    1126

         Grand Jury/Trial Attendance Date (Including Travel)                  $40 @        days      1156

         Pretrial Attendance Dates (Including Travel)                          $40 @         days    1194

         Detained Dates - Citizen/Visitor In Custody                           $40 @         days    1193

         Detained Dates - Deportable Alien in Custody                          $1 @          days    1195

                                                                                                     Total Fees      0

 B.   Attendance Attestation: I attest that the witness named above attended in the case or matter indicated and is
      entitled to the statutory allowance for attendance and travel. In proceedings before U.S. Magistrate Judges where
      more than four witnesses were called, the Magistrate also attests that the approval and certificate of the Litigating
      Trial Office were first obtained.



                     Signature                           Title of Authorized Government Official                     Date


                                                   This form is continued on Page 2



Original - USMS Trial District Office
Copy 1 - Paying Office
Copy 2 - DOJ Litigating Trial Office
Copy 3 - Witness                                                                                Form OBD-3 (Revised 4-2005)
                                      Previous Editions are Obsolete
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U.S. Department of Justice                                                               Fact Witness Voucher
Washington, D.C. 20530
                                                                                                   Page 2 of 3


                                     PART II - Allowances

C. Travel by Carrier (Receipts required if paid by witness) (DO NOT claim if paid by
                                                                                                    2191
Government)
              Check one                       Train               Bus               Airpl ane

D. Travel by Privately Owned Vehicle:         Auto/Truck/Van        Motorcycle       Airplane
                                              Round trip mileage              @ $       Per mile
                                              Total no. of trips
                                                                 Less advance received $            2192

E. Local Transportation & Other Expenses: (e.g., subway, bus, taxi, tolls, all parking, etc.)
                                     (Receipts required for parking and expenses over
                                       $25.00) (Gratuities are limited to taxi and shuttle
                                       services up to 15%)
List (item and amount)

                                                                                                    2193


F. Meals and Lodging:
   1. Travel days (½ day’s M&IE per day)             @ $           x        Day(s) = $
   2. Days away from home (full day’s M&IE per day) @ $             x       Day(s) = $
   3. Actual cost of lodging, not to exceed $        @ $           x        Day(s) = $
    (DO NOT claim if paid by Government) (Receipts are required if paid by witness)
                                                          Less advance received $                   2194

G. Witness Certification:
   I certify that this voucher is true and correct to the best of my knowledge and belief, and
   that payment or credit has not been received by me. (If not a citizen, present your Alien
   Registration Record with this form)



           Witness Signature                     Date              Alien Registration Record No.

H. Claim Verification:
   Based upon the above information and receipts furnished by the witness, I verify the above
   information is true and correct to the best of my knowledge.


                                                                                                    Net Amount
            Signature                   Title of Authorized Government Official           Date      Paid


                                                    PART III - Certification

                             THIS VOUCHER IS CERTIFIED CORRECT AND PROPER FOR PAYMENT



            Signature                   Title of Authorized Certifying Officer            Date

                                PART IV - Disbursement           (For Finance Office use only)

Accounting Classification
Check/Draft No.                                  Voucher No.



            Signature                         Title of Disbursing Officer                  Dat e

         The Privacy Act Statement and instructions for completion of this form are contained on Page 3 of this form


                                                                                            Form OBD-3 (Revised 4-2005)
                                        Submit                              Go
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U.S. Department of Justice                                                                           Fact Witness Voucher
Washington, D.C. 20530
                                                                                                                              Page 3 of 3

                                        INSTRUCTIONS FOR COMPLETING THIS FORM
                                                      To be completed by the witness

 1.       At the top of the form, check the appropriate word(s) to indicate if:

 You were or were not a United States citizen at the time you appeared to testify. If you are not a citizen, you will be required to show proof of
 your resident or visitor status.

 You were or were not a federal employee at the time you appeared to testify. The fees and allowances on this form do not apply to federal
 employees. If you are a federal employee, please request instructions for obtaining reimbursement.

 You (DID) or (DID NOT) receive a check or cash advance for your expenses in traveling to court. If you received an advance, enter the amount
 and issuing office here.

 Indicate and/or verify your name, Social Security Number, address, and telephone number to ensure that they are correct. This will be the
 address to which any reimbursement to you for fees or allowances will be mailed. Correct any erroneous information and enter any missing
 information.

 SOCIAL SECURITY NUMBER/PRIVACY ACT NOTICE: Disclosure of your social security number is mandatory for Federal income tax reporting
 purposes under the authority of 26 CFR Section 301-6109-1, in order to ensure the accuracy of income computation by the Internal Revenue
 Service. This information will be used to identify an individual who is compensated by funds of the Department of Justice. Failure to provide
 this information may result in delay of your compensation, and the Department of Justice will be required to notify the Internal Revenue Service
 that your number is unknown. This information is being provided on Form 1099 to the Internal Revenue Service.

 2.       PART II - Allowances

 Receipts are required for travel by train, bus or air, ALL PARKING, and other single items over $25.00. If you parked at an airport or have not yet
 paid your hotel/motel bill or other item requiring a receipt, it will be necessary for you to mail your receipts to the trial office. Your claim for
 reimbursement cannot be processed until you furnish all receipts for expenses that you are claiming on this Fact Witness Voucher.

 Please note:                 EXPENSES ASSOCIATED WITH YOUR TRAVEL BY YOUR PRIVATELY OWNED VEHICLE ARE LIMITED TO NO
                              GREATER THAN THE COST OF COACH AIRFARE.

 The remaining portion of Part II will be completed for you by the Federal government employee assigned to assist you, with the exception of the
 Witness Certification.

 G.       Witness Certification: Verify that all items under Part II are correct. Any changes to Part II must be effected and signed by the Federal
          government employee assigned to assist you. Sign you full legal name and the date. If you are not a United States citizen, you will be
          requested to show proof of your resident or visitor status.

 Falsification of an item may constitute a forfeiture of claim (28 U.S.C., Section 2514) and may result in a fine of not more than $10,000 or
 imprisonment of not more than 5 years or both (18 U.S.C. 287).

 Section B of Part I must be signed by an employee of the office that requested the appearance of the witness. Additionally, Section H of Part II
 must be signed by an employee of the requesting office attesting to the accuracy and completeness of the expenses claimed by the witness
 before the form is transmitted to the U.S. Marshals Service for payment. The U.S. Marshals Service will process the Fact Witness Voucher and
 MAIL payment to you at the address indicated on the first page of this form. If you require funds to return home, you must bring this fact to the
 attention of the individual assigned to assist you.




                                            INSTRUCTIONS TO COMPLETING OFFICE

 Section H of Part II must be signed by an employee of the office who requested the appearance of this witness, before the form is transmitted to
 the United States Marshals Service. Any revisions to Part II must be initialed by a Federal government employee. Changes made to Part II by
 the witness will not be honored.

 All receipts for claims made in Part II must be attached to the Form OBD-3 before it is transmitted to the United States Marshals Service for
 payment.

 Distribution of the Form OBD-3 shall be as follows: The ORIGINAL signed, completed form is retained by the U.S. Marshals Service. One COPY of
 the signed, completed form is provided to the Paying Office; one COPY is provided to the DOJ Litigating Trial Office; and one COPY is provided to
 the witness.




                                                                                                           Form OBD-3 (Revised 4-2005)
